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 8                                   UNITED STATES DISTRICT COURT

 9                                SOUTHERN DISTRICT OF CALIFORNIA

10

11     UNITED STATES OF AMERICA,           )                   Case No. 08cr0256-L
                                           )
12                       Plaintiff,        )
                                           )                   ORDER OF CRIMINAL
13           v.                            )                   FORFEITURE
                                           )
14     MELVIN ANDRE BIBBS (12),            )
                                           )
15                       Defendant.        )
       ____________________________________)
16

17             WHEREAS, in the Superseding Information in the above-captioned case, the United States

18     sought forfeiture of all right, title and interest in specific properties of the above-named Defendant,

19     MELVIN ANDRE BIBBS (12) ("Defendant"), pursuant to Title 21, United States Code,

20     Section 853(a)(1), as property obtained directly or indirectly as the result of the commission of the

21     violations charged in the Superseding Information; and

22             WHEREAS, on or about September 29, 2009, Defendant pled guilty to Count 1 of the

23     Superseding Information, which plea included a consent to the forfeiture allegations of the

24     Superseding Information and an agreement to entry of a $20,000 judgment against the Defendant

25     in favor of the United States; and

26             WHEREAS, all the assets pled to by Defendant were previously forfeited pursuant to the

27     Preliminary and Amended Orders of Criminal Forfeiture as to co-defendant Daphne Rosalinda

28     Jackson (4) ; and

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 1            WHEREAS, by virtue of the admissions of the Defendant set out in the plea agreement and

 2     guilty plea, the Court determined that $20,000 (U.S. dollars) represents the the proceeds obtained

 3     as a result of the commission of the conspiracy to distribute cocaine base in the form of crack

 4     cocaine as charged in Count 1in violation of Title 21, United States Code, Sections 846 and

 5     841(a)(1), as charged in the Superseding Information; and

 6            WHEREAS, by virtue of said guilty plea and the Court’s findings, the United States is now

 7     entitled to an Order of Forfeiture and a judgment in its favor against the Defendant in the amount

 8     of $20,000, pursuant to 21 U.S.C. § 853 and Rule 32.2(b) of the Federal Rules of Criminal

 9     Procedure; and

10            WHEREAS, Rule 32.2(c)(1) provides that "no ancillary proceeding is required to the extent

11     that the forfeiture consists of a money judgment;" and

12            WHEREAS, by virtue of the facts set forth in the plea agreement, the United States has

13     established the requisite nexus between the $20,000 judgment and the offense; and

14            WHEREAS, the United States, having submitted the Order herein to the Defendant through

15     his attorney of record, to review, and no objections having been received;

16            Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

17            1.        Defendant MELVIN ANDRE BIBBS (12) shall forfeit to the United States the sum

18     of $20,000 pursuant to Title 21, United States Code, Section 853(a)(1); and

19            2.       Judgment shall be entered in favor of the United State against Defendant MELVIN

20     ANDRE BIBBS (12) in the amount of $20,000.00 with interest to accrue thereon in accordance

21     with law; and

22            3.       This Court shall retain jurisdiction in the case for the purpose of enforcing the order

23     of forfeiture and collecting and enforcing the judgment; and

24            4.       Pursuant to Rule 32.2(b)(3), this Order of Forfeiture shall be made final as to the

25     Defendant at the time of sentencing and is part of the sentence and included in the judgment; and

26     //

27     //

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 1            5.       The United States may, at any time, move pursuant to Rule 32.2(e) to amend this

 2     Order of Forfeiture to substitute property having a value not to exceed $20,000 to satisfy the

 3     money judgment in whole or in part; and

 4            6.       The United States may take any and all actions available to it to collect and enforce

 5     the judgment.

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       DATED: October 28, 2009
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 8                                                   M. James Lorenz
                                                     United States District Court Judge
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